            Case 1:18-cr-00343-CKK Document 1 Filed 11/19/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,           )
                                    )                Criminal Number:
            v.                      )
                                    )                Violation: 18 U.S.C. § 371
GEORGE HIGGINBOTHAM,                )                (Conspiracy)
                                    )
            Defendant.              )
___________________________________ )

                                 CRIMINAL INFORMATION

       The Assistant Attorney General for the Criminal Division of the United States

Department of Justice charges:

                                       COUNT ONE
                        Conspiracy to Make False Statements to Banks
                                      (18 U.S.C. § 371)

                                 The Conspiracy and its Objects

       1.      From in or about April 2017 to in or about January 2018, in the District of

Columbia and elsewhere, the defendant, GEORGE HIGGINBOTHAM, did knowingly conspire

and agree with others, known and unknown, including Co-conspirator A and Co-conspirator B,

to knowingly make false statements for the purpose of influencing federally insured financial

institutions upon any application, in violation of Title 18, United States Code, Section 1014.

                              Acts in Furtherance of the Conspiracy

       2.      In furtherance of the conspiracy and to effect the object thereof, the defendant and

other members of the conspiracy, performed or caused the performance of the following overt

act, among others not described herein, in the District of Columbia and elsewhere: on or about

November 6, 2017, for the purpose of influencing Financial Institution Y’s due diligence in


                                                 1
             Case 1:18-cr-00343-CKK Document 1 Filed 11/19/18 Page 2 of 3



connection with applications for recently opened accounts under the control of Co-conspirator A,

the defendant, at the request of Co-conspirator A, transmitted an email to Financial Institution Y

that falsely represented the source and purpose of tens of millions of dollars in funds that

originated with foreign accounts under the control of Co-conspirator B.

        All in violation of Title 18, United States Code, Section 371.

                                 FORFEITURE ALLEGATION
                             18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461

        3.      The allegations contained in Paragraphs 1 and 2 of this Information are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,

United States Code, Section 981(a)(1)(C) and Title 28, United States Code, 2461(c).

        4.      Upon conviction of the offense in violation of Title 18, United States Code, Section

371 set forth in Count One of this Information, the defendant, GEORGE HIGGINBOTHAM, shall

forfeit to the United States of America, pursuant to Title 18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property, real or personal,

which constitutes or is derived from proceeds traceable to the offense. The property to be forfeited

includes, but is not limited to, a money judgment in a sum equal to the total value of the property

subject to forfeiture.

        5.      If any of the property described above, as a result of any act or omission of the

defendant:

                a.       cannot be located upon the exercise of due diligence;

                b.       has been transferred or sold to, or deposited with, a third party;

                c.       has been placed beyond the jurisdiction of the court;

                d.       has been substantially diminished in value; or


                                                   2
           Case 1:18-cr-00343-CKK Document 1 Filed 11/19/18 Page 3 of 3



               e.      has been commingled with other property which cannot be divided without

                       difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

       All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c).



                                              ANNALOU TIROL
                                              Acting Chief
                                              Public Integrity Section

                                      By:     ____________________________
                                              John Keller
                                              Deputy Chief
                                              Ryan Ellersick
                                              James Mann
                                              Sean Mulryne
                                              Nicole Lockhart
                                              Trial Attorneys
                                              Public Integrity Section
                                              1400 New York Ave. NW
                                              Washington, DC 20005
                                              (202) 514-1412




                                                 3
